       Case 3:25-cv-01766-EMC         Document 233     Filed 06/30/25   Page 1 of 8



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14                                UNITED STATES DISTRICT COURT

15                             NORTHERN DISTRICT OF CALIFORNIA

16                                    SAN FRANCISCO DIVISION

17

18   NATIONAL TPS ALLIANCE, MARIELA                  Case No. 3:25-cv-01766-EMC
     GONZÁLEZ, FREDDY JOSE ARAPE RIVAS,
19   M.H., CECILIA DANIELA GONZÁLEZ                  PLAINTIFFS’ RESPONSE TO
     HERRERA, ALBA CECILIA PURICA                    DEFENDANTS’ MOTION FOR RELIEF
20   HERNÁNDEZ, E.R., HENDRINA VIVAS                 FROM NONDISPOSITIVE PRETRIAL
     CASTILLO, A.C.A., SHERIKA BLANC, VILES          ORDER OF THE MAGISTRATE
21   DORSAINVIL, and G.S.,
22               Plaintiffs,
            vs.
23
     KRISTI NOEM, in her official capacity as
24   Secretary of Homeland Security, UNITED
     STATES DEPARTMENT OF HOMELAND
25   SECURITY, and UNITED STATES OF
     AMERICA,
26
                   Defendants.
27

28

                  RESPONSE TO MOT. FOR RELIEF FROM NONDISPOSITIVE PRETRIAL ORDER
                                   CASE NO. 3:25-CV-01766-EMC
       Case 3:25-cv-01766-EMC            Document 233   Filed 06/30/25   Page 2 of 8



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                   RESPONSE TO MOT. FOR RELIEF FROM NONDISPOSITIVE PRETRIAL ORDER
                                    CASE NO. 3:25-CV-01766-EMC
        Case 3:25-cv-01766-EMC           Document 233        Filed 06/30/25      Page 3 of 8



 1                                            INTRODUCTION

 2          Plaintiffs write in response to Defendants’ motion for relief (ECF 229) from Magistrate

 3   Judge Kim’s order (ECF 220) requiring Defendants to provide declarations under penalty of perjury

 4   from Secretary Noem and her senior advisor, Corey Lewandowski, that they did not use personal

 5   devices to communicate about the TPS status for Venezuelans and Haitians. Defendants claim that

 6   this order is (1) duplicative of the declaration already provided by Joseph Mazzara, Acting General

 7   Counsel for the Department of Homeland Security (ECF 189-1) and (2) constitutes judicial

 8   overreach because Secretary Noem and Mr. Lewandowski are high-ranking executive branch

 9   officials. ECF 229.

10          Plaintiffs believe that Judge Kim’s order was an entirely rational and appropriate response to

11   Defendants’ failure to produce a single document from either of these high-ranking individuals, or

12   provide any plausible explanation for the lack of such documents. Nevertheless, as the Court is well-

13   aware, time is of the essence in this matter, and Plaintiffs do not want to slow down resolution of

14   other discovery disputes or the parties’ dispositive motions over this issue. Accordingly, Plaintiffs

15   propose that, in lieu of personal declarations from Secretary Noem and Mr. Lewandowski, the Court

16   order Defendants to provide a declaration under penalty of perjury from someone with personal

17   knowledge detailing the searches conducted for Secretary Noem, Corey Lewandowski, and

18   Secretary Noem’s Executive Secretary’s custodial files, as well as the volume of data recovered, and

19   hits for each search. This would obviate both of Defendants’ concerns, as this compromise

20   declaration would not need to be from someone as high-level as Secretary Noem or Mr.

21   Lewandowski, and it would contain important information not found in the prior Mazzara

22   declaration.

23          Plaintiffs proposed this compromise to Defendants, but they rejected it because they

24   “continue to believe that Acting General Counsel Mazzara’s declaration is sufficient for the needs of

25   this case.” See Ex. 1 (email exchange with Defendants’ counsel).

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                    RESPONSE TO MOT. FOR RELIEF FROM NONDISPOSITIVE PRETRIAL ORDER
                                     CASE NO. 3:25-CV-01766-EMC
         Case 3:25-cv-01766-EMC           Document 233       Filed 06/30/25      Page 4 of 8



 1                                             BACKGROUND

 2          Judge Kim’s order stems ultimately from the fact that Defendants have not produced a single

 3   document from the custodial files of Secretary Noem or her senior advisor, Corey Lewandowski,

 4   despite their high rank and critical roles in the challenged decisions; and that Defendants have

 5   produced relevant documents to and from Mr. Lewandowski from other custodians. See ECF 191 at

 6   3. Defendants have yet to provide a plausible explanation for this absence.

 7          In response to this concern, on June 24, 2025, Judge Kim ordered Defendants, by July 3, to

 8   (1) submit for in camera review a sample of documents from Secretary Noem and Mr.

 9   Lewandowski’s custodial files that hit on the Court-ordered search terms but that Defendants

10   consider nonresponsive; (2) to the extent no such documents exist, provide an affidavit to that effect;

11   (3) add Secretary Noem’s Executive Secretary as a custodian and search and review their documents

12   for production; 1 and (4) submit declarations from Secretary Noem and Mr. Lewandowski, under

13   penalty of perjury, that they did not use personal devices to communicate about the TPS status for

14   Venezuelans and Haitians. ECF 220. 2

15          On Friday, June 27, Defendants filed the present motion for relief from Judge Kim’s order.

16   ECF 229. In the motion, Defendants do not challenge the first three aspects of Judge Kim’s order

17   relevant to this issue, challenging only the requirement of personal declarations from Secretary

18   Noem and Mr. Lewandowski. Id. Defendants claim that such declarations are duplicative and

19   constitute judicial overreach. Id.

20          Also on Friday, June 27, this Court ordered Plaintiffs to file a response to Defendants’

21   motion by Monday, June 30. ECF 230. In response to this order, Plaintiffs emailed Defendants on

22   Sunday, June 29 to propose a compromise to avoid litigating this issue. Plaintiffs proposed that, in

23   lieu of personal declarations from Secretary Noem and Mr. Lewandowski, Defendants provide a

24   declaration from someone else detailing the searches conducted for Secretary Noem, Corey

25   Lewandowski, and the Executive Secretary’s custodial files, as well as the volume of data recovered,

26
     1
       The original order required this aspect to be completed by June 26, ECF 220 ¶ 3, but Judge Kim
27   subsequently clarified that this aspect was also due by July 3. ECF 226 ¶ 1.
     2
       The fifth aspect to this order, concerning the presidential communications privilege, is not relevant
28   to this dispute. See ECF 220 ¶ 5.
                                                       2
                    RESPONSE TO MOT. FOR RELIEF FROM NONDISPOSITIVE PRETRIAL ORDER
                                          CASE NO. 3:25-CV-01766-EMC
          Case 3:25-cv-01766-EMC         Document 233         Filed 06/30/25      Page 5 of 8



 1   and hits for each search. Ex. 1. On Monday, June 30, Defendants rejected this compromise because

 2   they “continue to believe that Acting General Counsel Mazzara’s declaration is sufficient for the

 3   needs of this case.” Id. 3

 4                                                ARGUMENT

 5   I.      Judge Kim’s Order Was Appropriate and, In Any Event, Plaintiffs’ Proposed
             Compromise Would Obviate Both of Defendants’ Concerns
 6
             As Judge Kim recognized, the fact that Defendants have not produced a single document
 7
     from the custodial files of Secretary Noem and Mr. Lewandowski is both surprising and concerning,
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     because it raises the specter that either Defendants did not appropriately collect documents from all
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     the relevant sources for these two custodians, or Defendants did not appropriately apply search
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     terms, review, and make responsiveness determinations for their documents. Judge Kim’s four-
11
     pronged response to this issue, including her order for personal declarations, was entirely appropriate
12
     and proportional to the needs of the case and neither of Defendants’ objections have merit.
13
             However, given the compressed schedule of this case mandated by the ongoing irreparable
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     harm being suffered by Plaintiffs and hundreds of thousands of other individuals, Plaintiffs do not
15
     want to risk delaying the resolution of other discovery disputes and the parties’ dispositive motions
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     over this issue, which Plaintiffs have indicated they intend to seek further review of, if this Court
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     does not grant them relief. See ECF 229 at 5. Accordingly, Plaintiffs proposed a compromise to
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     Defendants that would not require personal declarations from Secretary Noem and Mr.
19
     Lewandowski. See Ex. 1. This proposal obviates both of Defendants’ concerns because it (1)
20
     removes the requirement of personal declarations from high-ranking executive officials and (2)
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     would not be duplicative of the Mazzara declaration. The proposed compromise declaration would
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     contain additional details not found in the prior Mazzara declaration about (1) the specifics of the
23
     searches conducted, as well as the volume of data recovered, and hits for each search and (b) the
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     search of the Executive Secretary’s files, which was not addressed in the Mazzara declaration. See
25
     ECF 189-1.
26

27   3
      Also on Monday, June 30, at the parties’ weekly discovery conference, Judge Kim stayed her order
     with regard to the personal declarations for seven days to allow Defendants to seek relief from this
28   Court. See ECF 231.
                                                      3
                   RESPONSE TO MOT. FOR RELIEF FROM NONDISPOSITIVE PRETRIAL ORDER
                                        CASE NO. 3:25-CV-01766-EMC
        Case 3:25-cv-01766-EMC           Document 233        Filed 06/30/25      Page 6 of 8



 1          In fact, tellingly, when responding to this proposal, Defendants did not assert that this

 2   proposal failed to adequately address either of their prior objections. Instead, Defendants simply

 3   stated that they thought the Mazzara declaration was sufficient for the needs of the case. See Ex. 1.

 4   But that unelaborated objection fails. The Mazzara declaration says only that “Secretary Noem . . .

 5   and Mr. Lewandowski responded that to the best of their recollection: no [they had not used personal

 6   email, messaging on a personal phone, or messaging on a work phone with respect to the TPS

 7   decisions at issue in this litigation], and there was no use of messaging on their work phone with

 8   respect to the TPS decision-making. They also said that it is not their practice to use any of their

 9   personal devices or emails for official business.” ECF 189-1 ¶ 2 (emphasis added). These vague

10   assertions are insufficient in the face of Defendants’ unexplained failure to produce a single

11   document from either of these custodians, and the more detailed declaration proposed by Plaintiffs,

12   in lieu of personal declarations, is a more than reasonable compromise.

13                                              CONCLUSION

14          Plaintiffs respectfully request that, in the interest of expediency and compromise, in lieu of

15   the personal declarations ordered by Judge Kim, this Court order Defendants to produce a

16   declaration under penalty of perjury from someone with personal knowledge detailing the searches

17   conducted for Secretary Noem, Corey Lewandowski, and the Executive Secretary’s custodial files,

18   as well as the volume of data recovered, and hits for each search. Plaintiffs request that the Court

19   otherwise deny Defendants’ motion.

20

21    Date: June 30, 2025                                   Respectfully submitted,
22                                                          ACLU FOUNDATION
                                                            OF NORTHERN CALIFORNIA
23
                                                             /s/ Emilou MacLean
24                                                          Emilou MacLean
                                                            Michelle (Minju) Y. Cho
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                   RESPONSE TO MOT. FOR RELIEF FROM NONDISPOSITIVE PRETRIAL ORDER
                                    CASE NO. 3:25-CV-01766-EMC
     Case 3:25-cv-01766-EMC   Document 233     Filed 06/30/25      Page 7 of 8



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                              CASE NO. 3:25-CV-01766-EMC
       Case 3:25-cv-01766-EMC           Document 233         Filed 06/30/25     Page 8 of 8



1                                      CERTIFICATE OF SERVICE

2           I hereby certify that on June 30, 2025, I caused the foregoing to be electronically filed with

3    the Clerk of Court using the CM/ECF system, which will then send a notification of such filing

4    (NEF) to all counsel of record.

5
                                                          ACLU FOUNDATION
6                                                         OF NORTHERN CALIFORNIA
7

8                                                         /s/ Emilou MacLean
                                                          Emilou MacLean
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                   RESPONSE TO MOT. FOR RELIEF FROM NONDISPOSITIVE PRETRIAL ORDER
                                    CASE NO. 3:25-CV-01766-EMC
